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16
                          IN THE UNITED STATES DISTRICT COURT
17
                                FOR THE DISTRICT OF ARIZONA
18
19
      United States of America,                         No. CR-18-00422PHX- SMB
20
                           Plaintiff,
21           vs.                                     NOTICE OF FILING PROPOSED
                                                         CHANGES TO JURY
22                                                        QUESTIONNAIRE
      Michael Lacey, et al.,
23
                           Defendant.
24
25          The United States, pursuant to Doc. 1336, hereby provides its Notice of Filing
26   Proposed Changes to the Jury Questionnaire. See Exhibit A.
27
28
      Case 2:18-cr-00422-DJH Document 1349 Filed 10/12/21 Page 2 of 2



 1         Respectfully submitted this 12th day of October, 2021.
 2                                            GLENN B. McCORMICK
                                              Acting United States Attorney
 3                                            District of Arizona
 4                                            s/ Margaret Perlmeter
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 5                                            MARGARET PERLMETER
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15
                                  CERTIFICATE OF SERVICE
16          I hereby certify that on this same date, I electronically transmitted the attached
17   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
18
     as counsel of record.
19
20
     s/ Margaret Perlemter
21   US Attorney’s Office
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